    Case 1:21-cv-01136-JPB Document 1-1 Filed 03/19/21 Page 1 of 21




Robin Herron v. The Kroger Company
State Court of Gwinett County, State of Georgia
Civil Action File Number: 21-C-01246-S5

Robin Herron v. The Kroger Company
USDC, Northern District, Atlanta Division
Civil Action File Number: TBA (Removal # 1:21-mi-99999)




     EXHIBIT A: PETITION FOR REMOVAL



ALL PLEADINGS, PROCESS, AND ORDERS SERVED
       UPON DEFENDANT IN THE STATE
        COURT OF GWINNETT COUNTY,
            STATE OF GEORGIA
                      Case 1:21-cv-01136-JPB Document 1-1 Filed 03/19/21 Page 2 of 21                                           E-FILED IN OFFICE - NN
                                                                                 r                                             CLERK OF STATE COURT
                                                                                                                           GWINNETT COUNTY, GEORGIA

                      General Civil Case Filing Information Form (Non-Domestic)                                                    21-C-01246-s5
                                                                                                                                2/15/2021 3:51 PM
Court                              COIInty Gwinnett                          Date Filed o2-1s-2021                                          l_ I

❑ Superior                                                                                     MM-DD-                  ~       C ERK O # STTE COURT
RrState                           Docket # 21-C-01246-S5

Plaintiff(s)                                                          Defendant(s)
HERRON, ROBIN                                                         THE KROGER COMPANY
Last          First       Middle I. Suffix Prefix         Maiden      Last       First       Middle I. Suffix Prefix         Maiden


Last          First       Middle I. Suffix Prefix         Maiden      Last       First       Middle I. Suffix Prefix         Maiden


Last          First       Middle 1. Suffix Prefix         Maiden     Last        First       Middle I. Suffix Prefix         Maiden


Last          First       Middle I. Suffix Prefix         Maiden     Last        First       Middle I. SufPix Prefix         Maiden


No. of Plaintiffs 1                                                   No. of Defendants              1

Plaintiff/Petitioner's Attorney                           ❑ Pro Se
REVOLLO, ASHTON A.
Last                    First                 Middle I.    Suffix


Bar # 209878

           Check Primary Type (Check only ONE)                           If Tort is Case Type:
                                                                                 (Check no more than TWO)
       ❑    Contract/Account
                                                                        ❑    Auto Accident
       ❑    Wills/Estate
                                                                        V Premises Liability
       ❑    Real Property
                                                                        ❑    Medical Malpractice
       ❑    Dispossessory/Distress
                                                                        ❑    Other Professional Negligence
       ❑    Personal Property
                                                                        ❑    Product Liability
       ❑    Equity
                                                                        ❑    Other Specify
       ❑    Habeas Corpus

       ❑    Appeals, Reviews
                                                                     IAre Punitive Damages Pleaded? ❑ Yes CtNo II
       ❑    Post Judgment Garnishment, Attachment, or
            Other Relief

       ❑    Non-Domestic Contempt

       V Tort (If tort, fill in right colunm)

       ❑    Other General Civil Specify
                Case 1:21-cv-01136-JPB Document 1-1 Filed 03/19/21 Page 3 of 21                                     E-FILED IN OFFICE - NN
                                                                                                                   CLERK OF STATE COURT
                                                                                                               GWINNETT COUNTY, GEORGIA
                               IN THE STATE COURT OF GWINNETT COUNTY                                                    21-C-01246-S5
                                                                                                                    2/15/2021, 3:51 PM

                                                   STATE OF GEORGIA                                    /~                 p .
                                                                                                         4
                                                                                                       ~!v ~       C ERK O STATE COURT
Robin Herron

                                                                                      CIVIL ACTION
                                                                                                               21-C-01246-S5
                                                                                      NUMBER:

                                      PLAINTIFF


                      vS.

The Kroger Company



                                     i»2"u-PI.Wn


                                                        ~Yi1105=M►i CIl- i:

TO THE ABOVE NAMED DEFENDANT:

  You are hereby summoned and required to f51e with the Clerk of said court and serve upon the Plaintift's attorney, whose name
and address is:

Ashton A. Revollo
The Pendergrass Law Firm
45 Technology Parkway South, Suite 230
Peachtree Corners, GA 30092                                                                                                         u
an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.

This   15th                 day of   February                                 , 202L.

                                                                               Tiana P. Garner
                                                                              Clerk of State Court

                                                                                             ,,
                                                                              By                  L&
                                                                                          Deputy Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

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       Case 1:21-cv-01136-JPB Document 1-1 Filed 03/19/21 Page 4 of 21                        E-FILED IN OFFICE - NN
                                                                                             CLERK OF STATE COURT
                                                                                         GWINNETT COUNTY, GEORGIA
                                                                                                    21-C-01246-S5
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                IN THE STATE COURT OF GWINNETT COUNTY
                                                                                                cLERK ,O   STATE COURT
                           STATE OF GEORGIA
ROBIN HERRON,                    )
                        ,        )
     Plaintiff,                  )
                                        ,     )
V.                                            )        CIVIL ACTION
                                              )        FILE NO. 21-C-01246-S5
THE KROGER COMPANY,                           )
                                              )                      1
       Defendant.                             )


                         COMPLAINT FOR PERSONAL INJURIES
                                (Jury Trial Demanded)

       COMES NOW Plaintiff in the above-styled civil action, and brings this Complaint against

the Defendant above-named, and in support thereof, shows the Court as follows:

                                                  1.

       Defendant The Kroger Company d/b/a Kroger ("Kroger") is a foreign corporation doing

business in this state and county and is subject to the jurisdiction and venue of this Court.

                                                  2.

       On December 21, 2019, Plaintiff was a business invitee shopping at Defendant Kroger

located at 1475 Buford Drive, Lawrenceville, Georgia 30043.

                                                  3.                              ,
       At said place and date, Defendant Kroger was responsible for keeping the premises safe

and in good repair for invitees and licensees.                   n

                                                  4.

       At said place and date, Plaintiff fell over a hand truck as it was positioned near her.

                                                  5.
                                                                     /

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        The placement of the.hand truck created a hazardous condition on the premises.

                                                   7.

        At said place and time, Defendant owed a duty to Plaintiff to exercise ordinary care to keep

the premises safe, to not injure Plaintiff by maintaining a dangerous condition, and to warn Plaintiff

of any hazardous conditions.

                                                   8.

        Defendant breached this duty of care by, among other things, failing to keep the area safe

for Plaintiff, failing to warn the Plaintiff of the dangerous condition, and failing to regularly inspect

the area so as to discover and remove hazards.

                                                   E

        No warnings or hazardous condition warnings were placed in a conspicuous location to

warm Plaintiff of the hazard on the premises.

                                                  10.

        Defendant had actual or constructive knowledge of the hazardous condition caused by the

hand truck on the floor.

                                                  11.

        Said fall was solely and proximately caused by the negligence of the Defendant who

breached their duty of care to Plaintiff by, among other things, failing to maintain the premises,

creating and maintaining a dangerous condition, failing to protect the Plaintiff from hidden perils

and failing to warn Plaintiff of the hazardous condition.

                                                  12.

        As a direct and proximate result of Defendant's negligence, Plaintiff sustained personal


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injuries and incurred extensive charges for medical care in excess of $34,000.00 to date and will

incur additional medical and other expenses into the future.

                                                 13.

       As a further result of said negligence, Plaintiff has suffered great physical and mental pain

and suffering, inconvenience, inability to enjoy a normal life, a diminished capacity to work and

labor, and Plaintiff is entitled to judgment against Defendant for a sum to be determined by the

jury to constitute full and complete compensation for all of said injuries, past, present, and future.


       WHEREFORE, Plaintiff prays for the following:

       (a) That service of process issue upon the Defendant as provided by law;

       (b) That Plaintiff be awarded compensatory damages for medical and other expenses and

           general damages for pain and suffering, past, present and future in a sum and amount

           to be shown at trial in accordance with the enlightened conscience of an impartial jury;

       (c) That Plaintiff have a trial by jury on all issues;

       (d) The Plaintiff have such other and further relief as this Honorable Court deems just and

           proper under the circumstances.



This the 15th day of February, 2021




                                    ( See Signatures Following)




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                                        Respectfully submitted,


                                        /s/Ashton A. Revollo
                                        PHILIP A. PENDERGRASS, JR.
                                        Georgia Bar Number 529699
                                        ASHTON A: REVOLLO
                                        Georgia Bar Number 209878
                                        Attorneys for Plaintiff   I




THE PENDERGRASS LAW FIRM, PC
45 Technology Pkwy S, Suite 230
Peachtree Corners, Georgia 30092
(404) 348-4511




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       Case 1:21-cv-01136-JPB Document 1-1 Filed 03/19/21 Page 8 of 21
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                                                                                                CLERK OF STATE COURT
                                                                                            GWINNETT COUNTY, GEORGIA
                                                                                                      21-C-01246-S5
                                                                                                  2/15/2021, 3:51 PM

              IN THE STATE COURT OF GWINNETT COUNTY
                                                                                                               COURT
                         STATE OF GEORGIA                                                        C ERK * STATE
ROBIN HERRON,                  )
                                                )
        Plaintiff,                              )
                                                )
V.                                              )       CIVIL ACTION
                                                )       FILE NO. 21-C-01246-S5
THE KROGER COMPANY,                             )
                                                )
        Defendant.                              )
                                                )

 PLAINTIFF'S FIRST REOUEST FOR ADMISSIONS, FIRST INTERROGATORIES,
AND FIRST REOUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANT THE
                         KROGER COMPANY
                                 ,

        COMES NOW Plaintiff, pursuant to O.C.G.A. §§ 9-11-33, 9-11-34, and 9-11-36 submits

herewith to Defendant The Kroger Company ("Kroger"), for response within forty-five (45) days

after service hereof, in the form provided by law, the f6llowing requests for admissions,

interrogatories and requests for production of documents, the same being continuing in nature,

requiring a supplemental response upon the discovery of other or further information or documents

affecting your response hereto.

        In responding, you are requested to answer fully and produce all documents available to you

or in your possession or in the possession of any agent, insurer, investigator or attorney acting in your

behalf. You are advised that if you fail to admit any of the Request for Admissions and the Plaintiff

is required to prove any fact contained in the Request at trial, the Plaintiff may seek all expenses

incurred in making the proof, including reasonable attorneys' fees.
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                                 REOUEST FOR ADMISSIONS

                                                 1.

        The Defendant admits that it has been properly served with a copy of the Summons and

Complaint in the above-styled action.

                                                 2.

         The Defendant admits that jurisdiction and venue are proper in this case.

                                                 3.
                                                       ~
         The Defendant admits that on or about December 21st, 2019 it owned and maintained of

the property located at 1475 Buford Drive, Lawrenceville, Georgia 30043.

                                                 4.

         The Defendant admits that the Plaintiff fell at the premises located at 1475 Buford Drive,

Lawrenceville, Georgia 30043.

                                                 5.

         The Defendant admits the presence of a hand truck in the immediate vicinity of Plaintiff's

subject fall.

                                                 6.

         The Defendant admits that it had actual knowledge of the hand truck prior to in which the

Plaintiff fell.

                                                 7.

         The Defendant admits that the hand truck on its floor solely and proximately caused

Plaintiffl s subj ect fall.




                                                 2
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                                                  8.

        The Defendant admits that it was immediately aware that Plaintiff sustained personal

injuries as a result of the subject fall.

                                                 a
        The Defendant admits that it conducted an investigation of Plaintiffs subject fall

pursuant to its policies and procedures.

                                                ) 10.

        The Defendant admits that it conducted an investigation of Plaintiffls subject fall in

anticipation of litigation.

                                                 11.

        The Defendant admits that it used a hand truck in the immediate vicinity of Plaintiff's

subject fall pursuant to its policies and procedures.
             1
                                                 12.

        The Defendant admits that no other person or entity was responsible for operating and

maintaining the hand truck of the subj ect premises.

                                                 13.

        The Defendant admits the subject properly was equipped with video surveillance cameras

at the time of the subject incident.




                                                  3
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                                   FIRST INTERROGATORIES

        You are required to answer the following interrogatories and to serve a copy of your

answers on the attorneys for the Plaintiff as provided by law.
                                                       ~
      In answering the following interrogatories, you are requested to give full and complete

answers based upon all knowledge of you and your agents, employees, servants, representatives,

investigators, and others who have obtained information on your behalf.

        All the following interrogatories shall be deemed continuing in nature until the date of trial

to the extent permitted by O.C.G.A. § 9-11-26(c), and you, are required to serve supplemental

answers to the extent required thereby if you or your attorneys obtain additional information

between the time the answers are served and the time of trial. Copies of such supplemental answers

shall be served on the attorneys for Plaintiff within thirty (30) days from the discovery of such

additional information, but not later than the time of trial.

        When used in these interrogatories, the term "incident" specifically refers to the incident

which occurred on or about December 21, 2019, at the Kroger store located at 1475 Buford Drive,

Lawrenceville, Georgia 30043 involving these parties, and which forms the basis of the Complaint

filed by the Plaintiff in this action.

                                                  1.

        Do you contend that some other person or company, in whole or in part, is liable to Plaintiff

in this matter. or is liable, in whole or in part, to you? Please state "yes" or "no." If your answer

is in any way in the affirmative, state the full name, address, and telephone number of that person

or company and the specific basis for any such contention(s).
                                       ~




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                                                 2.

       Please state the name, home address including zip code, business address including zip

code, and home and business telephone number of each person, including any party who, to your

knowledge, information or belief: -

       ,(a)    was an eye-witness to the incident or any parts of the incident or came upon the

               incident scene while the Plaintiff was still present.

       (b)     has some knowledge of any fact or circumstances upon which your defenses in this

               matter are based;

       (c)     assisted in answering these Interrogatories.

                                                 3.

       Please describe the substance of each and every comment, statement or report which to

your knowledge, information or belief, has been made by any person named in your response to

interrogatory number 1 above, giving as to each the date the comment, statement or report was

made, the parties present when made, and the form (whether oral, written, recorded, etc.), and

please provide the name, address, and phone number of the person presently having custody of

each written statement or report.

                                                 4.

       Was an investigation or report made by you or on behalf of you, your representatives,

attorneys, or insurers, of or relating to the incident made the basis of this lawsuit? If your answer

is in any way in the affirmative, as to each such investigation or report, please state the name,

address, job title and description, and telephone number of the person(s) who participated in such

investigation or report and who have received and/or currently have custody or control of any

written report or other documentation of the investigation.

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                                                              5.

                      Have you taken, or are you aware of, or have you obtained, any statement, be it oral or in
                  I

         writing, from the Plaintiff, any witness or other person purporting to have knowledge of any aspect

.1       of the subject incident? If so, identify the name of the person who gave the statement, state what

         was said by such person and state the name, address, and telephone number of anyone who

         overheard the statement or has possession, custody, or control of such statement, transcript, or

         summary of such statement.

                                              '               6.

                      Identify any employees, representatives, agents, or independent contractors responsible for

         maintaining the floors clean and dry at the subject location where Plaintiff fell.

                                                              7.

                      State whether or not an inspection protocol or policy and procedure was in effect at the

         subject location on the date of the subject incident and describe the protocol and identify any

         company documents that describe said protocol or policy and procedure.
              ~

                                                              8.

                      For each inspection protocol or policy and procedure identified above, state whether or not

         it was performed and if so, by whom and describe the results.

                                                              9.

     ~                Please identify any and all records memoranda, or files regarding the maintenance of the

         area where the Plaintiff fell, for a period of three (2) years prior to the incident and one (1) year

         after the incident. Please provide the name, address and phone number of each person who has

         custody of the original of such documents as well as the name of the person who has copies of said

         records.                                                                        L

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                                                  10.

        Please identify any and all records, memoranda, logs, or files regarding the stocking

performed at the properry at 1475 Buford Drive, Lawrenceville, Georgia 30043 for a period of

three (3) years prior to the incident and one (1) year after the incident. Please provide the name,

address and phone number of each person who has custody of said records.

                                                  11.

        Describe the extent of your knowledge of the existence of the hand truck on the premises

described in the Complaint. Please provide the length of time the hand truck was on the floor.

                                                  12.

        Identify any photographs, motion pictures, videotapes, surveys, charts, plats, plans,

drawings, blueprints, sketches, diagrams, computer simulations, or any other type of demonstrative

evidence concerning the subject incident, the site of the subject incident, or which in any way

illustrates any facts relevant to the subject incident. As to each item, please state the nature of such

item; how many of such items exist; the name, address and employer of the person

making/supplying such item; and the identity of the person who presently possesses such item.

                                                  13.

        Were there video cameras in place at the subject establishment on the date of Plaintiff's

fall? If so, state the following:

        (a)     Were the cameras operating on the date of Plaintiff's fall?

        (b)     The location of each camera and the area it filmed.

        (c)     Did any camera film the area where Plaintiff fell?

        (d)     Was the videotape(s) reviewed to see if it filmed Plaintiff s fall or any alleged

                inspection of the area of Plaintiff's fall prior to her fall? If so, by whom and when?

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        (e)     If any such videotape(s) exist, state the current location and custodian.

                                                 14.

        What is your protocol for retaining videotapes:

        (a)     In the ordinary course of business?

        (b)     In the event of an incident such as an injury on the premises that may lead to a claim

                being presented to you?

        (c)     Who was responsible for implementing this protocol at the subject store on the date

                of the subject incident?

                                                 15.

        Please identify by name, address.and telephone number the employees who supervised the

operations at the premises.

                                                 16.

        Please identify any person(s) who discussed this matter at the offices of Kroger on the day

of or the day after the incident. Please provide the name, address and phone number of each person

identified.

                                                 17.

        Please identify each and every document, paper, questionnaire, or written material that was

presented by Kroger to the Plaintiff following the incident. Please identify each document signed

by the Plaintiff.

                                                 18.

        Please state the names and addresses or information sufficient for the location of each and

every person known or reasonably believed by you or known by your attorneys, agents or



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investigators to have heard the Plaintiff make any statement, remark or comments concerning the

incident.

                                                   19.

       Please state the names and addresses or information sufficient for the location of each and

every person who worked for Kroger on December 21st, 2019. Please state which person or

persons were responsible for using a hand truck in the area whe're the Plaintiff fell. Please indicate

whether they are now employed by the Defendant.

                                                   'Fill

       Please describe all policies of insurance, including umbrella or excess policies, known or

believed by you to have been in force and effect and which would provide coverage at the time of

the incident and for each policy, please state the following:

       (a)     The full name of the company issuing the policy;

       (b)     The policy number;

       (c)     The limits of liability coverage;

       (d)     The limits of the property damage coverage;

       (e)     The full name of each insured shown on the declarations portion of the policy;

       (f)     Where and how the policy was purchased;

        (g)    Whether the insurance company has assumed the defense of this matter; and

        (h)    Whether the insurance company has provided its insured with any reservation of

               rights or other qualification to coverage pursuant to the policy.

                                                   21.

        Please identify each person whom you expect to call as an expert witness at the trial of this

case and with respect to each person, state the subject matter on which such expert is expected to

                                                    6
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                         \




testify, date witness was retained, state the substance of the facts and opinions to which each such

expert is expected to testify and give a summary of the grounds for each such opinion.

                                                22.

       Please identify any and all reports or other documents describing falls at the property at

1475 Buford Drive, Lawrenceville, Georgia 30043 for a period of one (1) year prior to the incident

and one (1) year after the incident.

                                                23.

       If you denied any of the foregoing Request for Admissions, for each admission or any

portion thereof, you denied, please state each and every fact upon which you base your denial,

provide the name; address and phone number of all persons having knowledge of these facts, and

indicate which facts are supported by which person or persons.
            r
                                              24.

       If, in responding to the foregoing Request for Admissions, you could not answer the

admission for lack of sufficient information, please describe all inquiries made by you.to attempt

to answer the request.


                     REOUEST.FOR PRODUCTION OF DOCUMENTS

       You are required to produce the documents requested herein and to permit the Plaintiff, or

someone acting on his behalf to inspect them and copy such of them as they may desire, within

thirty (30) days from the date of service as provided by law.

       YOU ARE HEREBY NOTICED TO PRODUCE THE DOCUMENTS AT ANY
DEPOSITION, HEARING OR TRIAL OF THIS MATTER PURSUANT TO O.C.G.A. § 24-10-

26.


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       The term "documents" is intended in the broad and literal sense, and means any and all

forms of written, typed, printed, recorded, graphic, or computer matter, however produced,

processed or reproduced, of any kind and description and whether an original, master, duplicate or

copy, including but not limited to accounts, advertisements, agreements, amendments, analyses,

appointment books, articles, bank checks, bibliographies, bills, binders, books, brochures,

bulletins, cablegrams, calculations, canceled checks, cashier's checks, catalogs, charts, check

stubs, communications (including inter-office and intra-office), computer print-outs, computer

data„ contracts, corporate records, correspondence, data sheets, desk calendars, diaries, diary

entries, drafts, drawings, e-mail, films, financial records, formulas, freight bills, instructions,
                                                                                           \


invoices, labels, ledger books, letters, lists, mail-grams, manuals, memoranda, microfiche,

microfilm, minutes of board of directors, minutes of committee meetings, newspapers, notebooks,

notes, orders, pamphlets, papers, periodicals, photographs, ,plans, projections, publications,

receipts, records, reports, schedules, shipping orders, sketches, sound recordings, specifications,

studies, surveys, telegrams, test results, videotapes, vouchers, working papers, work sheets, things

similar to any of the foregoing, and notes, minutes, transcriptions or sound recordings of any type

of personal or telephone conversations, statements, negotiations, meetings or conferences, and all

other physical things containing information, including preliminary drafts of and marginal or other

notes, notations or comments appearing on any document, however denominated or described.

       If you dispute the genuineness of any documents produced in response to this Request for

Production of Documents, please provide information sufficient to locate and obtain the original

of such document.

                                                1.



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                Please produce a copy of all insurance policies that provided general liability insurance for

        Kroger and its agents for the property located at 1475 Buford Drive, Lawrenceville, Georgia 30043

        during December 2019.



                                                             2.

                Please produce a schematic of the Kroger, located at 1475 Buford Drive, Lawrenceville,

        Georgia 30043, which accurately indicates the location of the area of the subject incident and the

        location and direction of every camera within -the subject property at the time of the subject

        incident. In the event that the schematic of the store or the location of the cameras has change

    t   please produce those as well.

                                                             'Vi

                Please produce true, accurate and complete copies of any and all documents relating to

        your contention that some other person or company is, in whole or in part, liable to Plaintiff in this

        matter or is liable, in whole or in part, to you in this matter.

                                                             4.

                Please produce true, accurate and complete copies of any and all policies, procedures,

        training manuals, and other documents or things that pertain to injury accidents, safety,

        maintenance, inspection procedures and protocols for the subject premises. ;
                                                                                 i
                                                      5.

                Please produce true, accurate and complete copies of any and all photographs, diagrams,

        videotapes, maps, plats, charts, or other graphic, pictorial, or demonstrative evidence reflecting the

~       scene of the subject incident of Plaintiffls fall.

                                                             C'i

                                                             12
                             r
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       Please produce true, accurate and complete copies of any and all photographs, diagrams,

videotapes, maps, plats, charts, or other graphic, pictorial, or demonstrative evidence reflecting

any alleged inspection in at the scene of the subject incident as well as the areas surrounding it.   ,



                                                 7.

       Please produce any and all documents, forms, electronic data, communications, or

otherwise which contain a record of any and all review of any and all video surveillance which

captured the incident, .the last reasonable inspection, and how long the hazard condition remained

on the floor where the subject incident occurred.

                                                 8.

       Please produce true, accurate and complete copies of any and all statements of Plaintiff,

any witness or other individual purporting to have knowledge of the subject incident.

                                                 9.

       Please'produce any videotape or photographs of the Plaintiff in your possession.

                                                10.

       Please produce the personnel files for any and all employees or contractors responsible for

maintenance and inspections on duty on the date of the subject incident.

                                                11.

       Please produce any documents or tangible things upon which you base your denial of

liability for the damages alleged in the Complaint, or which you claim supports your denial of

liability or denial of the amount of damages

                                                12.



                                                 13
      Case 1:21-cv-01136-JPB Document 1-1 Filed 03/19/21 Page 21 of 21




       Please produce a list of all of your employees, contractors, agents, or representatives who

worked at the subject store on the date of the incident.

                                                 13.

       Please produce clock-in logs or other employee logs for all employees responsible for
                                                           ~
maintaining the floors at the subject premises on the date of the fall.

                                                 14.

               Please produce all documents obtained through Requests to Non-Parties pursuant

to O.C.G.A. § 9-11-34.




This the 151 day of February, 2021

                                                       Respectfully submitted,

                                                       /s/Ashton A. Revollo
                                                       PHILIP A. PENDERGRASS, JR.
                                                       Georgia Bar Number 529699
                                                       ASHTON A. REVOLLO
                                                       Georgia Bar Number 209878
                                                       Attorneys for Plaintiff

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45 Technology Pkwy S, Suite 230
Peachtree Corners, Georgia 30092
(404) 348-4511




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